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   16 AXURE SOFTWARE SOLUTIONS, INC.
   17                   IN THE UNITED STATES DISTRICT COURT
   18                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
   19                                WESTERN DIVISION
   20    IRISE, a California corporation,      ) Case No. 08-CV-03601 SJO (JWJx)
                                               )
   21                Plaintiff,                )
                                               ) ORDER OF DISMISSAL OF
   22         v.                               ) ACTION, WITH PREJUDICE,
                                               ) PURSUANT TO RULE 41(a)(2) OF
   23    AXURE SOFTWARE SOLUTIONS, ) THE FEDERAL RULES OF CIVIL
           INC., a California corporation; and ) PROCEDURE
   24    INTEGRATED ELECTRICAL                 )
           SERVICES, INC., a Delaware          )
   25      corporation,                        ) Hon. S. James Otero
                                               )
   26                Defendants.               )
                                               )
   27    AND RELATED COUNTERCLAIM )
                                               )
   28
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     1                                          ORDER
     2             The Court, having reviewed the “Stipulation of Dismissal of Action, With
     3   Prejudice, Pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure”
     4   filed     by   Plaintiff   and   Counterdefendant   iRISE   and   Defendant    and
     5   Counterclaimant AXURE SOFTWARE SOLUTIONS, INC., and good cause
     6   appearing therefor, hereby ORDERS as follows:
     7             1.    The above-captioned action, including all claims and counterclaims
     8   asserted therein, is hereby dismissed, with prejudice, pursuant to the Settlement
     9   Agreement between the parties, with each party to bear its own costs and fees.
   10              2.    This Court retains jurisdiction over this matter for the purpose of
   11    ensuring the parties’ compliance with the terms of the Settlement Agreement.
   12              IT IS SO ORDERED.
   13              September 29, 2009
   14    Dated:
                                               UNITED STATES DISTRICT JUDGE
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